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                              No. 24-13102


          IN THE UNITED STATES COURT OF APPEALS
                FOR THE ELEVENTH CIRCUIT


                PROPERTIES OF THE VILLAGES, INC.,

                                          Plaintiff-Appellee,

                                    v.

                   FEDERAL TRADE COMMISSION,

                                          Defendant-Appellant.


              On Appeal from the United States District Court
                    for the Middle District of Florida


           STATUS REPORT AND MOTION TO HOLD
        APPEAL IN ABEYANCE FOR 60 ADDITIONAL DAYS


                                         ERIC D. MCARTHUR
                                           Deputy Assistant Attorney General

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                                         SEAN R. JANDA
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              CERTIFICATE OF INTERESTED PERSONS AND
                CORPORATE DISCLOSURE STATEMENT

      Pursuant to Eleventh Circuit Rule 26.1-1, counsel for appellant certifies that, to

the best of his knowledge, the following persons and entities have an interest in the

outcome of this litigation:

      American Hotel & Lodging Association

      American Investment Council

      Araiza, William

      Arensmeyer, John

      Associated Builders and Contractors, Inc.

      Baker & Hostetler LLP

      Barack, Ryan D.

      Bedoya, Alvaro

      Boucek, Carolyn O.

      Boynton, Brian M.

      Consumer Technology Association

      Corrigan, Hon. Timothy J.

      Covington & Burling LLP

      Creed & Gowdy, P.A.

      Crooks, Jamie

      Democracy Forward Foundation


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    Dempsey, Rachel

    Emmer, Daniella

    Epstein, Becker, & Green, P.C.

    Fairmark Partners LLP

    Farby, Lesley

    Federal Trade Commission

    Ferguson, Andrew N.

    Friedman, Todd R.

    Futures Industry Association

    Glover, Matthew J.

    Goodnature, Taisa M.

    Gowdy, Bryan

    Grigsby, Stacey K.

    Hearn, Robert

    Holyoak, Melissa

    Home Care Association of America

    Hudson, Brian

    Independent Electrical Contractors

    International Franchise Association

    Janda, Sean R.

    Klein, Jonathan M.
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    Khan, Lina M.

    Kwall Barack Nadeau PLLC

    Lammens, Hon. Philip R.

    Lieberman, Michael

    Liu, Wendy

    Lubbers, Jeffrey

    Managed Funds Association

    Martin, Meagan L.

    Mayer Brown LLP

    McArthur, Eric D.

    Meador, Mark R.

    Mittal, Urja

    Mody, Arjun

    Muldowney, Patrick M.

    Nachmany, Eli

    Nadeau, Michelle Erin

    National Association of Wholesaler-Distributors

    National Employment Lawyers Association (Florida Chapter), Inc.

    National Employment Law Project

    National Federation of Independent Business Small Business Legal Center, Inc.

    National Retail Federation
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    Parr, Jennifer

    Posner, Eric A.

    Properties of the Villages, Inc.

    Public Citizen

    Public Citizen Litigation Group

    Raab, Michael S.

    Restaurant Law Center

    Rigby, Katherine G.

    Roffino, John

    Rose, Alexander

    Saharsky, Nicole A.

    Samburg, Mark B.

    Securities Industry and Financial Markets Association

    Seligman, David H.

    Slaughter, Rebecca Kelly

    Shane, Peter M.

    Small Business Majority

    Starr, Evan

    Todd R. Friedman, P.A.

    The Holding Company of The Villages, Inc.

    The Villages of Lake-Sumter, Inc.
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    Thurston, Robin F.

    Towards Justice

    United States Council for International Business

    Vernon, Emily A.

    Warner, A. Millie

    Weibust, Erik W.

    Westmoreland, Rachael L.

    Zehmer, Lauren Willard



                                                 s/ Sean R. Janda
                                               Sean R. Janda




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       Pursuant to Federal Rule of Appellate Procedure 27 and this Court’s order of

March 20, 2025, the government respectfully submits this status report on ongoing

agency proceedings and moves to hold this appeal in abeyance for 60 additional days.

The government proposes to file a status report in 60 days regarding appropriate next

steps in this appeal. Plaintiff consents to this motion.

       1. In May 2024, the Federal Trade Commission issued a rule that defines most

existing non-competes as unenforceable unfair methods of competition (subject to an

exception for certain senior executives) and bans the future use of most non-

competes. Non-Compete Clause Rule, 89 Fed. Reg. 38,342 (May 7, 2024). Plaintiff

challenged that rule, and the district court entered a preliminary injunction prohibiting

the Commission from enforcing the rule against plaintiff. See Dkt. No. 59, at 1-2. This

appeal followed.

       In March 2025, the Commission moved to hold this appeal in abeyance for 120

days. As that motion explained, the newly appointed Chairman of the Commission

had publicly stated that he believed the Commission should reconsider its defense of

the rule challenged in this case. In light of that statement, the Commission believed

that holding this appeal in abeyance would conserve party and judicial resources and

promote the efficient and orderly disposition of this appeal. On March 20, 2025, this

Court granted the Commission’s motion and directed that, at the end of the 120-day

abeyance period, the Commission file a status report.
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      2. Since this Court granted the Commission’s abeyance motion, the

Commission has undergone significant personnel changes, including the Senate

confirmation and the swearing in of Commissioner Mark Meador. In light of these

changes and the press of Commission business, some additional time is necessary to

determine whether the Commission should reconsider its defense of the rule

challenged in this case. Thus, the Commission respectfully requests that this Court

extend the previously granted abeyance for an additional 60 days. The Commission

would respectfully propose that it file another status report at the end of that 60-day

period regarding appropriate next steps in this appeal.

      3. Plaintiff consents to this motion.

                                               Respectfully submitted,


                                                ERIC D. MCARTHUR
                                                  Deputy Assistant Attorney General*

                                                MICHAEL S. RAAB

                                                 s/ Sean R. Janda
                                                SEAN R. JANDA
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                                                   sean.r.janda@usdoj.gov
July 2025

      *
          The Assistant Attorney General is recused in this matter.
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                      CERTIFICATE OF COMPLIANCE

      This status report and motion complies with the type-volume limit of Federal

Rule of Appellate Procedure 27(d)(1)(E) because it contains 351 words. This status

report and motion also complies with the typeface and type-style requirements of

Federal Rule of Appellate Procedure 32(a)(5)-(6) because it was prepared using Word

for Microsoft 365 in Garamond 14-point font, a proportionally spaced typeface.



                                                s/ Sean R. Janda
                                              Sean R. Janda
